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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                          Case No.: 1:18-cv-24190
  WILLIAM O. FULLER, and

  MARTIN PINILLA, II,

                 Plaintiffs,

         v.

  JOE CAROLLO,

                 Defendant.

  ___________________________________/

       JOINT STATEMENT OF THE CASE PURSUANT TO THE COURT’S ORDER
                 PROVIDING INSTRUCTIONS FOR TRIAL [DE 342]

         Plaintiffs William Fuller and Martin Pinilla, and Defendant, Joe Carollo, pursuant to the

  Court’s Order Providing Instructions for Trial [DE 342], dated March 10, 2023, hereby submit

  their statement of the case:

         Plaintiffs, William Fuller and Martin Pinilla, have sued Defendant, City of Miami

  Commissioner Joe Carollo, for First Amendment retaliation under 42 U.S.C. Section 1983.

         Mr. Fuller and Mr. Pinilla allege Commissioner Carollo retaliated against them because

  they exercised their constitutionally protected rights, including by supporting Defendant’s election

  opponent Alfie Leon in holding two political “get out the vote” rallies on a property they owned

  across from the early voting center and by filing a Complaint against Commissioner Carollo with

  the Miami-Dade County Commission on Ethics. Plaintiffs allege Commissioner Carollo retaliated

  against them by, among other things, abusing his authority as a City of Miami commissioner and

  seeking to have the City shut down businesses owned by or associated with Plaintiffs. Plaintiffs

  claim that as a result of Commissioner Carollo’s actions, each of them has suffered damages.
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         Commissioner Carollo denies the allegations for the following reasons: 1. The actions were

  not retaliatory and were legal and proper official actions intended to protect the health, safety, and

  welfare of City residents. 2. The City’s activities were all done in the ordinary course of official

  business without consideration of any exercise of First Amendment speech by Mr. Fuller or Mr.

  Pinilla. 3. The City acted on sufficient cause to take action relating to noncompliance of Plaintiffs’

  companies’ properties with the Florida Building Code, City Codes, and ordinances. 4. Each of the

  Plaintiffs, individually, suffered no damages as a result of any official act of Commissioner

  Carollo.

  Dated: March 30, 2023

                                                        Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that a true and correct copy of the forgoing was served via

  CM/ECF on counsel of record of in this action on this 30th day of March, 2023.

                                             /s/ Jeff Gutchess
                                             Jeffrey W. Gutchess Esq.
